Case 2:05-cr-02100-LRS   ECF No. 173   filed 02/13/06   PageID.448 Page 1 of 6
Case 2:05-cr-02100-LRS   ECF No. 173   filed 02/13/06   PageID.449 Page 2 of 6
Case 2:05-cr-02100-LRS   ECF No. 173   filed 02/13/06   PageID.450 Page 3 of 6
Case 2:05-cr-02100-LRS   ECF No. 173   filed 02/13/06   PageID.451 Page 4 of 6
Case 2:05-cr-02100-LRS   ECF No. 173   filed 02/13/06   PageID.452 Page 5 of 6
Case 2:05-cr-02100-LRS   ECF No. 173   filed 02/13/06   PageID.453 Page 6 of 6
